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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE
In re                               Chapter 11

OLDAPCO, INC., et al.,                                  Case No. 17-12082 (KJC)

Debtors.                                                (Jointly Administered)

ALAN D. HALPERIN AND EUGENE I. DAVIS,
AS CO-TRUSTEES OF THE APPVION
LIQUIDATING TRUST,
Plaintiff,
                                                        Adv. Proc. No. 18-50955 (KJC)
v.

MARK R. RICHARDS, THOMAS J. FERREE,
TAMI L. VAN STRATEN, JEFFREY J.                         Related Docket Nos. 59
FLETCHER, KERRY S. ARENT, STEPHEN P.
CARTER, TERRY M. MURPHY, ANDREW F.
REARDON, KATHI P. SEIFERT, MARK A.
SUWYN, CARL J. LAURINO, DAVID A.
ROBERTS, KEVIN GILLIGAN, ARGENT
TRUST COMPANY, STOUT RISIUS ROSS,
INC., STOUT RISIUS ROSS, LLC, JOHN/JANE
DOES 1-40,
Defendants.

     STIPULATION FOR EXTENSION OF TIME FOR DEFENDANTS TO ANSWER,
      MOVE, OR OTHERWISE RESPOND TO THE AMENDED COMPLAINT AND
                 MOTION TO DISMISS BRIEFING SCHEDULE

       Alan D. Halperin and Eugene I. Davis, as Co-Trustees of the Appvion Liquidating Trust

(collectively, the “Plaintiff”), on the one hand, and Mark R. Richards, Thomas J. Ferree, Tami L.

Van Straten, Jeffrey J. Fletcher, Kerry S. Arent, Stephen P. Carter, Terry M. Murphy, Andrew F.

Reardon, Kathi P. Seifert, Mark A. Suwyn, Carl J. Laurino, David A. Roberts, Kevin Gilligan

(collectively, the “D&O Defendants,”), Stout Risius Ross, Inc., and Stout Risius Ross, LLC

(collectively, “Stout”), and Argent Trust Company (“Argent Defendant,” and together with the

Plaintiff, the “Parties”), on the other hand, through their respective undersigned counsel, hereby

stipulate and agree as follows:
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          1. The Parties agree and stipulate that the time within which D&O Defendants,
             Stout, and Argent Defendant may file and serve an Answer or Motion to Dismiss
             to the Amended Complaint (Dkt. 59) is hereby extended to and including March
             19, 2019.

          2. The Parties agree and stipulate that the time within which Plaintiff may file
             Responses to the Motions to Dismiss is hereby extended to and including April,
             16, 2019.

          3. The Parties agree and stipulate that the time within which the D&O Defendants,
             Stout and Argent Defendant may file Replies in further support of the Motions to
             Dismiss is hereby extended to and including April 30, 2019.

          4. Except as specifically set forth herein, all rights, claims, and defenses of the
             Parties are fully preserved.


GRANT & EISENHOFER P.A.                           SAUL EWING ARNSTEIN & LEHR LLP

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                                                  Ferree, Tami L. Van Straten, Jeffrey J.
Special Counsel for Alan D. Halperin and          Fletcher, Kerry S. Arent, Stephen P. Carter,
Eugene I. Davis, as Co-Trustees of the            Terry M. Murphy, Andrew F. Reardon, Kathi
Appvion Liquidating Trust                         P. Seifert, Mark A. Suwyn, Carl J. Laurino,
                                                  David A. Roberts, Kevin Gilligan




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CHIPMAN BROWN CICERO & COLE,                   ECKERT SEAMANS CHERIN &
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